                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
                                                      )
v.                                                    )        Case No. 4:13-CV-00449-BCW
                                                      )        Consolidated Cases:
                                                      )        4:13-CV-00563-BCW
VITAS HOSPICE SERVICES, L.L.C., et al.                )        4:13-CV-00505-BCW
                                                      )        4:13-CV-00344-BCW
                       Defendants.                    )


                                     ORDER OF DISMISSAL

       Having been notified of the settlement of this case, and it appearing that no issue remains

for the Court’s determination, it is hereby

       ORDERED that the above-styled action is DISMISSED with prejudice. In the event that

the settlement is not perfected, any party may move to reopen the case, provided that such

motion is filed within 45 days of the date of this Order. In addition, the Court retains jurisdiction

over enforcement of the settlement agreed to by the parties.

       IT IS SO ORDERED.




Dated: February 2, 2018                       /s/ Brian C. Wimes
                                              JUDGE BRIAN C. WIMES
                                              UNITED STATES DISTRICT COURT




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